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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,           )
                                    )
                 Plaintiff,         )
                                    )                 4:04CR3156
            v.                      )
                                    )
JOE M. DELGADO JR.,                 )
                                    )                    ORDER
                 Defendant.         )
                                    )



       IT IS ORDERED:

       Defendant’s motion to continue trial, filing 64, is granted
and,

     1. Trial of this matter is continued to 9:00 a.m.,
October 3, 2005, for a duration of three days as the first
criminal case before the Honorable Richard G. Kopf in Courtroom
1, United States Courthouse and Federal Building, 100 Centennial
Mall North, Lincoln, Nebraska.   Jury selection will be held at
commencement of trial.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendant in a speedy trial, and the additional time arising as a
result of the granting of the motion, the time between
June 7, 2005 and October 3, 2005 shall be deemed excludable time
in any computation of time under the requirements of the Speedy
Trial Act, for the reason that the parties require additional
time to adequately prepare the case, taking into consideration
due diligence of counsel, the novelty and complexity of the case,
and the fact that the failure to grant additional time might
result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B).

       DATED this 8th day of June, 2005.

                                   BY THE COURT:


                                   s/   David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
